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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE        SOUTHERN DISTRICT OF GEORGIA
                                                 AUGUSTA DIVISION




UNITED    STATES      OF AMERICA



                v.                                                             CR   109-035


HENRY    MICKLEONARD          MCGEE




                                                     ORDER




        Defendant       has     filed        a     motion    for       reduction      of    sentence    under       18


U.S.C.    § 3582(c)(2)          on the basis that Amendment 782 to the United States

Sentencing       Guidelines           has        revised         the   guidelines          applicable       to    drug

trafficking          offenses.           Even       though       Amendment      782      became     effective       on

November    1,        2014,    no     defendant        may        be    released      on    the    basis     of    the

retroactive amendment before November 1,                               2015.    See U.S.S.G.         Amend.       788.

Thus,     the        Court     will      undertake           a     review      of    cases        involving       drug

trafficking offenses                in       due    course.            If Defendant         is    entitled        to a

sentence        reduction       as       a    result        of    amendments        to     the     United     States

Sentencing Guidelines, the Court will make such a reduction sua sponte.

Accordingly, Defendant's motion (doc. no. 185) is DEFERRED.1
        ORDER ENTERED at Augusta, Georgia, this                                      Z2-^ day of \J[6/
                                                                                                   WHs^G/t*L
                                                                                                             /

Jo /5T


                                                     H0N0RAB1E~J.         RANDAL HALL
                                                     .UNITED J^TATES DISTRICT JUDGE
                                                     SOUTHERN DISTRICT OF GEORGIA


        The Clerk is directed to terminate the motion for administrative purposes
